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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: MULTIPLAN HEALTH                             Case No. 1:24-cv-6795
 INSURANCE PROVIDER LITIGATION                       MDL No. 3121

 This Document Relates To:                           Hon. Matthew F. Kennelly

 ALL DIRECT ACTIONS




              DEFENDANTS’ JOINT MOTION TO DISMISS
 THE CONSOLIDATED MASTER DIRECT ACTION PLAINTIFF COMPLAINT AND
        DIRECT ACTION PLAINTIFFS’ SHORT-FORM COMPLAINTS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants MultiPlan, Inc.,

MultiPlan Corporation, National Care Network, LLC, Viant Payment Systems, Inc., Viant, Inc.,

Medical Audit & Review Solutions, Inc., Aetna, Inc., Allied National, LLC, Benefit Plan

Administrators of Eau Claire, LLC, Blue Cross and Blue Shield of Massachusetts, Inc., Blue Shield

of California Life & Health Insurance Company, CareFirst, Inc., Central States Southeast and

Southwest Areas Health and Welfare Fund, Aware Integrated, Inc., BCBSM, Inc. (Blue Cross and

Blue Shield of Minnesota), Consociate, Inc. (Consociate Health), The Cigna Group, Elevance

Health, Inc., Health Care Service Corporation, Highmark Health, Horizon Healthcare Services,

Inc. (Horizon Blue Cross and Blue Shield of New Jersey), UnitedHealth Group Inc., Kaiser

Foundation Health Plan, Inc., Secure Health Plans of Georgia, LLC, Molina Healthcare, Inc., and

Sanford Health Plan (collectively “Defendants”) hereby move this Court to dismiss the

Consolidated Master Direct Action Plaintiff Complaint and the Direct Action Plaintiffs’ Short

Form Complaints with prejudice. In support of this Motion, Defendants concurrently submit a

Memorandum of Law in Support and the Declaration of Sadik Huseny with attached exhibits.



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Dated: January 16, 2025

Respectfully Submitted,

/s/ Sadik Huseny                          /s/ E. Desmond Hogan (w/ consent)
Sadik Huseny (pro hac vice)               E. Desmond Hogan
LATHAM AND WATKINS LLP                    Justin W. Bernick
300 Colorado Street, Suite 2400           W. David Maxwell (pro hac vice)
Austin, TX 78701                          HOGAN LOVELLS US LLP
Telephone: (737) 910-7300                 555 Thirteenth Street, N.W.
sadik.huseny@lw.com                       Washington, D.C. 20004
                                          Telephone: (202) 637-5600
Gary Feinerman (IL Bar No. 6206906)       desmond.hogan@hoanlovells.com
LATHAM AND WATKINS LLP                    justin.bernick@hoganlovells.com
330 N Wabash Avenue, Suite 2800           david.maxwell@hoganlovells.com
Chicago, IL 60611
Telephone: (312) 876-7700                 Jordan D. Teti
gary.feinerman@lw.com                     HOGAN LOVELLS US LLP
                                          1999 Avenue of the Stars, Suite 1400
Lawrence E. Buterman (pro hac vice)       Los Angeles, CA 90067
Katherine A. Rocco (pro hac vice)         Telephone: (310) 785-4600
LATHAM AND WATKINS LLP                    jordan.teti@hoganlovells.com
1271 Avenue of the Americas
New York, NY 10020                        Attorneys for Defendants Elevance Health, Inc.;
Telephone: (212) 906-1200                 Horizon Healthcare Services, Inc. (Horizon
lawrence.buterman@lw.com                  Blue Cross and Blue Shield of New Jersey);
katherine.rocco@lw.com                    BCBSM, Inc. (Blue Cross and Blue
                                          Shield of Minnesota); Aware Integrated, Inc.;
Anna M. Rathbun (pro hac vice)            Blue Cross and Blue Shield of Massachusetts,
Graham B. Haviland (pro hac vice)         Inc.; and CareFirst, Inc.
LATHAM AND WATKINS LLP
555 Eleventh Street, NW                   /s/ Katherine A. Trefz (w/ consent)
Suite 1000                                Jonathan B. Pitt
Washington, DC 20004                      Katherine A. Trefz
Telephone: (202) 637-2200                 Feyilana Lawoyin
anna.rathbun@lw.com                       WILLIAMS & CONNOLLY LLP
graham.haviland@lw.com                    680 Maine Avenue, S.W.
                                          Washington, DC 20024
Craig Lewis Caesar (IL Bar. No 3121593)   Telephone: (202) 434-5000
PHELPS DUNBAR LLP                         jpitt@wc.com
365 Canal Street, Suite 2000              ktrefz@wc.com
New Orleans, LA 70130                     flawoyin@wc.com
Telephone: (504) 584-9272
craig.caesar@phelps.com                   Attorneys for Defendant Aetna Inc.




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Errol J. King (pro hac vice)                 /s/ Daniel R. Campbell (w/ consent)
Katherine Mannino (pro hac vice)             Daniel R. Campbell
PHELPS DUNBAR LLP                            Emilie E. O’Toole
II City Plaza                                MCDERMOTT, WILL & EMERY LLP
400 Convention Street, Suite 1100            444 West Lake Street, Suite 4000
Baton Rouge, LA 70802                        Chicago, IL 60606
Telephone: (225) 376-0279                    Telephone: (312) 984-7782
errol.king@phelps.com                        dcampbell@mwe.com
katie.manino@phelps.com                      eotoole@mwe.com

Attorneys for Defendants MultiPlan, Inc.;    Joshua B. Simon (pro hac vice)
MultiPlan Corporation; National Care         Warren Haskel (pro hac vice)
Network, LLC; Viant Payment Systems, Inc.;   Dmitriy G. Tishyevich (pro hac vice)
Viant, Inc.; and Medical Audit & Review      Caroline Incledon (pro hac vice)
Solutions, Inc.                              Chelsea Edith Rae Cosillos (pro hac vice)
                                             MCDERMOTT, WILL & EMERY LLP
/s/ Scott Jared Fisher (w/ consent)          One Vanderbilt Avenue
Scott Jared Fisher                           New York, NY 10017
Eric Y. Choi                                 Telephone: (212) 547-5444
NEAL, GERBER & EISENBERG                     jsimon@mwe.com
Two North LaSalle Street, Suite 1700         whaskel@mwe.com
Chicago, IL 60602                            dtishyevich@mwe.com
Telephone: (312) 269-8035                    cincledon@mwe.com
sfisher@nge.com                              ccosillos@mwe.com
echoi@nge.com
                                             Attorneys for Defendant The Cigna Group
Rachel S. Brass (pro hac vice)
Henry H. Cornillie                           /s/ Brian P. Kavanaugh (w/ consent)
GIBSON, DUNN & CRUTCHER LLP                  Brian P. Kavanaugh
One Embarcadero Center, Suite 2600           Scott D. Stein
San Francisco, CA 94111                      SIDLEY AUSTIN LLP
Telephone: (415) 393-8293                    One South Dearborn
rbrass@gibsondunn.com                        Chicago, IL 60603
hcornillie@gibsondunn.com                    Telephone: (312) 853-7000
                                             bkavanaugh@sidley.com
Joshua Lipton (pro hac vice)                 sstein@sidley.com
Kristen C. Limarzi (pro hac vice)
GIBSON, DUNN & CRUTCHER LLP                  Attorneys for Defendant Health Care
1700 M Street, N.W.                          Service Corporation and the Central States
Washington, DC 20036                         Southeast and Southwest Health and
Telephone: (202) 955-8500                    Welfare Fund
jlipton@gibsondunn.com
klimarzi@gibsondunn.com




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Heather L. Richardson (pro hac vice)             /s/ Stephen D. Libowsky (w/ consent)
GIBSON, DUNN & CRUTCHER LLP                      Stephen D. Libowsky (IL Bar No. 6187081)
333 South Grand Avenue                           Rebecca A. Finkel (IL Bar No. 6317199)
Los Angeles, CA 90071                            MANATT, PHELPS & PHILLIPS, LLP
Telephone: (213) 229-7000                        151 North Franklin Street
hrichardson@gibsondunn.com                       Chicago, Illinois 60606
                                                 Telephone: (312) 529-6300
Attorneys for Defendant UnitedHealth             slibowsky@manatt.com
Group, Inc                                       rfinkel@manatt.com

/s/ Christopher S. Moore(w/ consent)
Christopher S. Moore (IL Bar. No. 6256418)       Gregory N. Pimstone (pro hac vice)
CHRIS MOORE LAW LLC                              MANATT, PHELPS & PHILLIPS, LLP
220 North Green Street                           2049 Century Park East, Suite 1700
Suite 4031                                       Los Angeles, CA 90067
Chicago, Illinois 60607                          Telephone: (310) 312-4000
Telephone: (312) 704-4444                        gpimstone@manatt.com
chris@chrismoorelaw.com
                                                 Attorneys for Defendant Blue Shield of
Richard G. Douglass (IL Bar. No. 6282777)        California Life & Health Insurance Company
DOUGLASS P.C.
77 W. Wacker Drive                           /s/ James W. Davidson
Suite 4500                                   James W. Davidson
Chicago, IL 60601                            Riley B. Olson
Telephone: (312) 216-5145                    O’HAGAN MEYER LLC
rich@douglasspc.com                          One East Wacker Drive, Suite 3400
                                             Chicago, Illinois 60601
Attorneys for Defendant Allied National,     Telephone: (312) 422-6100
LLC                                          jdavidson@ohaganmeyer.com
                                             rolson@ohaganmeyer.com
/s/ Jason C. Murray (w/ consent)
Jason C. Murray (pro hac vice)               Attorneys for Defendant Secure Health Plans
Jordan L. Ludwig (pro hac vice)              of Georgia, L.L.C.
CROWELL & MORING LLP
515 South Flower Street, 40th Floor
Los Angeles, CA 90071                        /s/ William J. Sheridan (w/ consent)
Telephone: (213) 662-4750                    William J. Sheridan (pro hac vice)
jmurray@crowell.com                          Courtney Bedell Averbach (pro hac vice)
jludwig@crowell.com                          Leah E. Hungerman (pro hac vice)
                                             REED SMITH LLP
Jason P. Stiehl                              225 Fifth Avenue
CROWELL & MORING LLP                         Pittsburgh, PA 15222
455 North Cityfront Plaza Drive Suite 3600   (412) 288-3131
Chicago, IL 60611                            wsheridan@reedsmith.com
Telephone: (312) 321-4200                    caverbach@reedsmith.com
jstiehl@crowell.com                          lhungerman@reedsmith.com

Ashley L. McMahon (pro hac vice)             Counsel for Defendant Highmark Health
CROWELL & MORING LLP


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1001 Pennsylvania Avenue, N.W.
Washington, D.C. 20004
Telephone: (202) 624-2500                 /s/ Lynn H. Murray (w/ consent)
amcmahon@crowell.com                      Lynn H. Murray
                                          Riley C. Mendoza
Attorneys for Defendant Kaiser Foundation Samuel G. Bernstein
Health Plan, Inc.                         SHOOK, HARDY & BACON LLP
                                          111 South Wacker Drive, Suite 4700
/s/ John J. Hamill (w/ consent)           Chicago, IL 60606
John J. Hamill                            Telephone: (312) 704-7700
john.hamill@us.dlapiper.com               lhmurray@shb.com
Michael S. Pullos                         rmendoza@shb.com
michael.pullos@us.dlapiper.com            sbernstein@shb.com
DLA PIPER LLP (US)
444 West Lake Street, Suite 900           Ryan Sandrock
Chicago, Illinois 60606                   SHOOK, HARDY & BACON LLP
Tel: 312.368.3423                         555 Mission St,
Fax: 312.251.5728                         San Francisco, CA 94105
                                          Telephone: (415)544.1900
Attorneys for Defendants Benefit Plan     rsandrock@shb.com
Administrators of Eau Claire, LLC and
Consociate, Inc. (Consociate Health)      Attorneys for Defendant Molina Healthcare,
                                          Inc.

                                               /s/ Stephen D. Libowsky (w/ consent)
                                               Stephen D. Libowsky (IL Bar No. 6187081)
                                               Rebecca A. Finkel (IL Bar No. 6317199)
                                               MANATT, PHELPS & PHILLIPS, LLP
                                               151 North Franklin Street
                                               Chicago, Illinois 60606
                                               Telephone: (312) 529-6300
                                               slibowsky@manatt.com
                                               rfinkel@manatt.com


                                               Ileana Hernandez (pro hac vice forthcoming)
                                               MANATT, PHELPS & PHILLIPS, LLP
                                               2049 Century Park East, Suite 1700
                                               Los Angeles, CA 90067
                                               Telephone: (310) 312-4000
                                               ihernandez@manatt.com

                                               Attorneys for Defendant Sanford Health Plan




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                               CERTIFICATE OF SERVICE

        I, Sadik Huseny, hereby certify that on this 16th day of January, 2025, I caused the

foregoing to be electronically filed with the Clerk of the Court of the United States District Court

for the Northern District of Illinois, Eastern Division, using the CM/ECF system, which sent

notification of such filing to all filing users.



                                                   /s/ Sadik Huseny
                                                   Sadik Huseny




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